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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

HUMANA INC.,

       and

HUMANA BENEFIT PLAN OF TEXAS,                  No.
INC.,

                  Plaintiffs,

       v.

XAVIER BECERRA, in his official capacity
as Secretary of the United States Department
of Health and Human Services,

       and

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES,

                  Defendants.



             COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF
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                                       INTRODUCTION

        1.     This lawsuit challenges the federal government’s arbitrary and capricious reversal

of a policy governing payment audits conducted by the Medicare Advantage program. At stake

is the financial stability of this enormously popular government health-insurance program, which

provides life-saving healthcare coverage for more than 30 million seniors.

        2.     On February 1, 2023, the Centers for Medicare and Medicaid Services (“CMS”)

issued a final rule adopting a new policy for calculating payment recoveries in Medicare

Advantage audits. The agency did not even try to offer an empirical or actuarial justification for

its new audit methodology, relying instead on purely legal rationales—none of which withstand

scrutiny. Because CMS’s reliance on faulty legal rationales is arbitrary and capricious and

contrary to law in violation of the Administrative Procedure Act (“APA”), Plaintiffs Humana

Inc. and Humana Benefit Plan of Texas, Inc. (“Plaintiffs”) respectfully request that this Court

vacate the final rule and enjoin the agency from applying the new policy in any audit of

Plaintiffs.

        3.     Humana Inc. is a leading health and well-being company committed to helping

millions of members achieve their best health, including through its subsidiary Medicare

Advantage organizations that offer the full spectrum of health-benefit plans for Medicare

beneficiaries.1 Nearly half of all Medicare beneficiaries receive their benefits through private

Medicare Advantage plans like the ones administered by Humana. 2 Medicare Advantage

enrollees report high levels of satisfaction with their coverage and often receive more benefits


        1
         This Complaint refers to Humana Inc. and its subsidiary Medicare Advantage
organizations collectively as “Humana.”
       2
         See Jeannie Fuglesten Biniek, Anthony Damico, Meredith Freed, Tricia Neuman &
Nancy Ochieng, Medicare Advantage in 2023: Enrollment Update and Key Trends, Kaiser
Family Foundation (Aug. 9, 2023), https://www.kff.org/medicare/issue-brief/medicare-
advantage-in-2023-enrollment-update-and-key-trends/.


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than are available under traditional Medicare, which is also known as “fee-for-service

Medicare.” When beneficiaries enroll in a Medicare Advantage plan each year, a Medicare

Advantage organization commits to cover their full Medicare benefits—and often more—in

exchange for a flat monthly payment from CMS. The Medicare statute also requires CMS to

adjust the flat monthly payments, in part, to account for the health risks associated with different

enrollees so that Medicare Advantage organizations are fully compensated for the risks they

assume when they commit to cover those enrollees’ Medicare benefits. When making these risk-

adjusted payments to Medicare Advantage organizations, the Medicare statute requires CMS to

maintain “actuarial equivalence” with fee-for-service Medicare, such that the agency pays

Medicare Advantage organizations the same amount for each enrollee that it would expect to pay

to cover that enrollee in traditional fee-for-service Medicare. To that end, the Medicare statute

requires CMS and Medicare Advantage organizations to observe stringent actuarial requirements

at every step of the bidding and payment process.

       4.      Earlier this year, CMS promulgated a regulation (the “Final Rule”) that upends

the Medicare Advantage program’s compensation model, allowing the agency to claw back

payments that CMS made to Medicare Advantage organizations years after the fact based on

agency audits that violate these basic actuarial principles. The Final Rule permits CMS to

recover funds from audited Medicare Advantage plans using a documentation standard

inconsistent with the standard it used to develop the Medicare Advantage payment model in the

first place. This inconsistent documentation standard violates published standards of actuarial

practice. Internal documents produced by CMS show that, more than a decade ago, the agency

recognized that the very double standard CMS now seeks to implement would be actuarially

unsound. In fact, in 2012, CMS publicly promised to adjust any audit recoveries to account for




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this double standard. And Medicare Advantage organizations like Humana relied on that

assurance for years when structuring their Medicare Advantage bids to CMS and related business

practices. Nonetheless, in 2018, CMS unexpectedly reversed course. The agency issued a

Proposed Rule reneging on its prior commitment, proposing to upend the bargain at the

foundation of the Medicare Advantage program—that CMS pays Medicare Advantage

organizations the same amount it would cost the agency to provide Medicare benefits to the same

enrollees under traditional fee-for-service Medicare. During the pendency of the Proposed Rule,

the agency apparently searched in vain for years for a reasoned justification for reversing its

position, offering ever-changing explanations that have fallen away time and again under

scrutiny.

       5.      After giving itself multiple extensions, CMS released the Final Rule in February

2023. In that rule, CMS abandoned every explanation it has ever offered to justify its about-face.

Instead, it asserted—for the very first time—that the Medicare statute allows the agency to

recover billions of dollars from Medicare Advantage organizations through audits that do not

observe any actuarial standards at all. That newly invented and self-serving reading of the

Medicare statute (which expressly requires the agency to ensure “actuarial equivalence” between

fee-for-service Medicare and Medicare Advantage payments) is textually wrong and actuarially

unsound. Making matters worse, CMS seeks to apply the Final Rule retroactively to contracts

that Humana entered into with CMS in reliance on the agency’s promise that it would maintain

consistent documentation standards between fee-for-service Medicare and Medicare Advantage

when auditing payments to Medicare Advantage organizations like Humana.

       6.      CMS’s shifting justifications and erroneous legal reasoning violate the APA’s

prohibition on arbitrary, capricious, and unlawful agency action. And CMS’s decision to apply




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its new policy retroactively exceeds the agency’s statutory authority and abuses its discretion

under the APA. The Final Rule will alter the Medicare Advantage program’s actuarial

foundations, with unpredictable consequences for Medicare Advantage organizations and the

millions of seniors who rely on the Medicare Advantage program for their healthcare. The APA

forbids CMS from taking such drastic action without a reasoned explanation reconciling the

agency’s policy with controlling statutory mandates. Accordingly, Plaintiffs respectfully ask the

Court to vacate the Final Rule and enjoin the agency from applying the new policy in any audit

of Plaintiffs.

                                          THE PARTIES

        7.       Plaintiff Humana Inc. is a Delaware corporation whose principal place of business

is Jefferson County, Kentucky. As of 2023, Humana Inc. and its subsidiaries contracted directly

with more than 900,000 physicians and healthcare professionals and more than 3,660 hospitals

nationwide to provide medical care to enrollees in their Medicare Advantage plans. Humana Inc.

and its subsidiaries serve approximately 18 percent of all Medicare Advantage enrollees—more

than 5.5 million seniors and other eligible enrollees.

        8.       Plaintiff Humana Benefit Plan of Texas, Inc., is a Texas corporation whose

principal place of business is Dallas County, Texas. Humana Benefit Plan of Texas is an

authorized insurance company licensed to offer health maintenance organization (“HMO”) plans

in the state of Texas. It administers Medicare Advantage plans as a subsidiary of Humana Inc.,

pursuant to a Medicare Part C contract with CMS that Humana Benefit Plan of Texas first

executed on August 27, 2020. It offers coverage to Medicare Advantage enrollees in Texas.

        9.       Humana Inc. and its subsidiaries conduct significant business in the state of

Texas, employing more than 5,100 people in the state and serving more than 1.8 million

members statewide, including Medicare Advantage, Medicare Part D, Dual-Eligible Special


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Needs Plans, and TRICARE members. Through its Medicare Advantage subsidiaries, Humana

serves more than 425,000 Medicare Advantage beneficiaries who reside in Texas. The Medicare

benefits of these Texas citizens will be threatened by the Final Rule at issue in this case.

       10.     Defendant Xavier Becerra (“the Secretary”) is the Secretary of Defendant U.S.

Department of Health and Human Services (“HHS”). Plaintiffs are suing the Secretary in his

official capacity. The Secretary administers the Medicare Advantage program through CMS,

which is a component agency of HHS.

                                 JURISDICTION AND VENUE

       11.     This Court has jurisdiction over this case under 28 U.S.C. § 1331. This action

arises under Title XVIII of the Social Security Act, 42 U.S.C. § 1395 et seq., and the APA,

5 U.S.C. §§ 702, 703, and 706.

       12.     Venue is proper under 28 U.S.C. § 1391(e).

                                  FACTUAL ALLEGATIONS

I.     The Medicare Advantage Program Provides a Popular and Efficient Mechanism for
       Seniors to Access Medicare Benefits.

       13.     Since 1965, the Medicare program has provided health insurance to Americans

aged 65 or older, individuals suffering from serious long-term disabilities, and patients with end-

stage renal disease. CMS, an agency of HHS, administers the Medicare program under the

Secretary’s authority and supervision. The fee-for-service Medicare program consists of

Medicare Part A, which covers inpatient hospital care, and Medicare Part B, which covers

outpatient medical care. Medicare Parts A and B are known as traditional Medicare, or fee-for-

service Medicare. This case concerns the payment system for Medicare Part C, also known as

Medicare Advantage. Under Medicare Part C, private insurers called Medicare Advantage




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organizations bid to provide Medicare-eligible enrollees with at least the same coverage

available under Medicare Parts A and B. Humana is a Medicare Advantage organization.

       14.     Medicare Advantage organizations cover fee-for-service Medicare benefits and

often more, such as benefits designed to address social determinants of health and specialized

clinical needs. Every June, Medicare Advantage organizations like Humana submit and

negotiate bids with CMS for the following year’s plans. Through this process, CMS and the

Medicare Advantage organizations determine each plan’s benefits and pricing, which they later

memorialize in Medicare Part C contracts. See 42 U.S.C. §§ 1395w-21 through 1395w-28. A

single contract might apply to multiple Medicare Advantage plans, and Medicare Advantage

organizations often have several contracts with CMS.

       15.     After this bidding and contracting process concludes, Medicare beneficiaries can

enroll in any Medicare Advantage plan covering the geographic area where they live, generally

during an enrollment period extending from October to December preceding the coverage year.

Id. § 1395w-21(b)(1), (e)(3)(B). Local plans cover specific counties, while regional plans cover

larger Medicare Advantage regions designated by CMS. Id. §§ 1395w-23(d)(1)-(2), 1395w-

28(b)(4). Over the past decade, Medicare Advantage enrollment has more than doubled: In

2023, more than 30 million Americans, representing nearly half of the eligible Medicare

population, are enrolled in a Medicare Advantage plan. 3

       16.     To further the goals of the Medicare Advantage program, Congress requires CMS

to use a payment model that fundamentally differs from the compensation model used in fee-for-

service Medicare. In fee-for-service Medicare, CMS directly pays healthcare providers to treat




       3
        Medicare Advantage in 2023: Enrollment Update and Key Trends, supra n.2. In 2023,
18 percent of Medicare Advantage enrollees are enrolled in a Humana plan. Id.


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Medicare beneficiaries. This fee-for-service model reimburses providers retrospectively for each

specific service they render to Medicare beneficiaries. Under Part A, CMS reimburses hospitals

and other facilities for each inpatient stay. See 42 U.S.C. § 1395ww(d)(1)-(4). Under Part B,

CMS pays providers a set amount for each medically necessary procedure they perform. Id.

§ 1395l(a)(1). The fee-for-service Medicare payment model incentivizes more care but not

necessarily better care—the more procedures healthcare providers perform for fee-for-service

Medicare beneficiaries, the more CMS pays them.

       17.     The Medicare Advantage program uses a different compensation structure—one

designed to incentivize more efficient care and better benefits. Rather than pay doctors and

hospitals for each service performed, the program contracts with private insurers like Humana to

cover enrollees’ Medicare benefits. Medicare Advantage organizations commit to provide

enrollees with benefits that match or exceed those available under Medicare Parts A and B; in

exchange, CMS pays Medicare Advantage organizations prospectively a fixed monthly amount

based on the cost that the agency estimates it would incur to provide fee-for-service Medicare

benefits to those same enrollees. Unlike in fee-for-service Medicare, Medicare Advantage

payments are not tethered to the volume of medical care enrollees ultimately consume, removing

the incentive to provide unnecessary services. The program’s fixed-payment structure also shifts

financial risk to Medicare Advantage organizations. They foot the bill when an enrollee

consumes more medical services than anticipated but retain the savings when an enrollee

consumes fewer services than expected.

       18.     By decoupling payment from service volume, Congress hoped to bring to

Medicare “the health benefit design, delivery, and cost containment innovations that have




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occurred in the private sector.”4 Congress expected those efficiencies would be passed on to

Medicare beneficiaries as plans competed to attract enrollees through superior benefits and lower

costs, which would be achieved through cost-sharing arrangements and efficient, high-quality

provider networks.

       19.      Congress achieved these goals. Today, Medicare Advantage organizations offer

plan benefits going far beyond fee-for-service Medicare, including dental care, hearing aids, and

over-the-counter drugs.5 And they continue to produce cost savings for enrollees. The average

monthly premium for Medicare Advantage plans has steadily decreased, from $32.91 in 2015 to

$19 in 2022.6

       20.      Medicare Advantage enrollees report 40 percent less out-of-pocket healthcare

spending and are 29 percent less likely to be hospitalized for avoidable reasons than their

counterparts in fee-for-service Medicare.7 Humana, in particular, has been on the cutting edge of

innovation. As of 2020, 67 percent of its enrollees sought care from network physicians in

value-based care models that focus on patient outcomes rather than volume of medical services,

leading to 165,000 fewer hospital admissions compared to fee-for-service Medicare and 90,000

fewer emergency-room visits.8 Ninety-eight percent of Medicare Advantage enrollees report that



       4
          H.R. Rep. No. 105-217, at 585 (1997),
https://www.congress.gov/105/crpt/hrpt217/CRPT-105hrpt217.pdf.
        5
          See CMS Releases 2022 Premiums and Cost-Sharing Information for Medicare
Advantage and Prescription Drug Plans, CMS (Sept. 30, 2021),
https://www.cms.gov/newsroom/press-releases/cms-releases-2022-premiums-and-cost-sharing-
information-medicare-advantage-and-prescription-drug.
        6
          Id.; see also Medicare Advantage Premiums Remain Stable; Enrollment at All-Time
High, CMS (Sept. 21, 2015), https://www.cms.gov/newsroom/press-releases/medicare-
advantage-premiums-remain-stable-enrollment-all-time-high.
        7
          See 2021 State of Medicare Advantage at 12, 18, Better Medicare Alliance (May 2021),
https://bettermedicarealliance.org/publication/2021-state-of-medicare-advantage-report/.
        8
          See Value-based Care Report: Physician Progress and Patient Outcome at 2, 9,
Humana (2020), https://digital.humana.com/VBCReport/VBC_Report_2020_digital.pdf.


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they are satisfied with their coverage.9 The Congressional Budget Office projects that by 2030,

the majority of Medicare beneficiaries will be enrolled in Medicare Advantage. 10 In short,

Medicare Advantage plans offer lower costs, better clinical outcomes, and higher customer

satisfaction than fee-for-service Medicare.

II.      The Medicare Advantage Payment Model Adjusts Payments to Private Insurers
         Based on the Risks They Assume to Provide Medicare Benefits for Particular
         Enrollees.

         21.   The Medicare Advantage program rests on a foundational bargain: A private

health-insurance organization commits to provide Medicare-eligible enrollees with at least the

same benefits they would receive in fee-for-service Medicare. In exchange, CMS pays the health

insurer the same amount that the fee-for-service Medicare program would expect to pay to cover

traditional Medicare benefits for the same enrollees. The Medicare statute codifies this bargain

with its command that payments to Medicare Advantage organizations must be “actuarial[ly]

equivalen[t]” to the payments that CMS would expect to make for those enrollees’ healthcare

expenses in the fee-for-service Medicare program. See 42 U.S.C. § 1395w-23(a)(1)(C)(i).

         22.   To “ensure actuarial equivalence,” id., Congress required that CMS develop and

apply an actuarially sound method of “risk adjustment,” id. § 1395w-23(a)(3). Risk adjustment

is a way of statistically estimating the healthcare costs of a particular pool of Medicare

Advantage beneficiaries and then increasing or decreasing payment based on their unique risk

factors.11 Among other things, risk adjustment “reduce[s] the incentive for [Medicare




         9
          2021 State of Medicare Advantage, supra n.7, at 21.
         10
           Id. at 5; see also Medicare-CBO’s Baseline as of March 6, 2020, Congressional Budget
Office (Mar. 19, 2020), https://www.cbo.gov/system/files/2020-03/51302-2020-03-medicare.pdf.
        11
           CMS, Medicare Managed Care Manual, ch. 7, § 20 (2014),
https://www.cms.gov/Regulations-and-Guidance/Guidance/Manuals/Downloads/mc86c07.pdf.


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Advantage] plans to prefer enrolling healthier-than-average beneficiaries.” 12 The Medicare

statute requires CMS to adjust the base payment for each enrollee to account for certain “risk

factors,” including “age, disability status, gender, institutional status, and . . . health status . . . so

as to ensure actuarial equivalence” with fee-for-service Medicare. 42 U.S.C. § 1395w-

23(a)(1)(C)(i). In other words, the Medicare Advantage risk-adjustment system must ensure that

CMS “pay[s] the same amount to Medicare Advantage insurers for their beneficiaries’ care as

CMS would spend on those same beneficiaries if they were instead enrolled in traditional

Medicare.”13

        23.     CMS’s ultimate payments to Medicare Advantage organizations have two

components: (1) a “base rate” that is the same for each enrollee in a given locale, which

represents the agency’s estimate of the expected cost to provide fee-for-service Medicare

benefits to an enrollee with average health and demographic characteristics in that locale, and (2)

a “risk score” unique to each Medicare Advantage enrollee that accounts for that enrollee’s

actual demographic and health characteristics.

        A.      CMS Payments to Medicare Advantage Organizations Begin with “Base
                Rates.”

        24.     CMS sets base rates for Medicare Advantage compensation through an annual

bidding process. Every June, Medicare Advantage organizations submit bids to CMS for the

plans they intend to offer the following year. A Medicare Advantage organization must commit

to a benefits package that equals or exceeds the benefits available under fee-for-service

Medicare. Each bid must state the funds the Medicare Advantage organization estimates it



        12
           CMS, Report to Congress: Risk Adjustment Medicare Advantage at 4 (2018),
https://www.cms.gov/Medicare/Health-Plans/MedicareAdvtgSpecRateStats/Downloads/RTC-
Dec2018.pdf.
        13
           UnitedHealthcare Insurance Co. v. Becerra, 16 F.4th 867, 883 (D.C. Cir. 2021).


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would need to provide those benefits to an enrollee of average risk in the relevant geographic

area. 42 C.F.R. § 422.254(a)(1). In developing these bids, Medicare Advantage organizations

account for the specific characteristics of expected enrollees in the relevant geographic area and

the payment rates and risk-adjustment methodology that CMS annually discloses. The Medicare

Advantage organization’s bid must be certified by a member of the American Academy of

Actuaries, see 42 U.S.C. § 1395w-24(a)(6)(A)(iii); 42 C.F.R. § 422.254(b)(5), and CMS must

confirm that the bid is based on sound actuarial estimates, see 42 U.S.C. § 1395w-24(a)(6)(B);

42 C.F.R. § 422.256(b).

       25.     CMS then compares the Medicare Advantage organization’s bid for an average

enrollee to a CMS-created benchmark that serves as a ceiling for base payments. CMS sets these

benchmarks based on average fee-for-service Medicare spending per beneficiary in the

geographic area at issue. If a Medicare Advantage organization’s bid is lower than the CMS

benchmark, the bid becomes the base rate for each enrollee in that plan. 42 U.S.C. § 1395w-

23(a)(1)(B)(i). If the organization’s bid is higher than the CMS benchmark, then the benchmark

becomes the organization’s base rate for each enrollee in that plan. Id. § 1395w-23(a)(1)(B)(ii).

       B.      CMS Adjusts Payments for Particular Enrollees Based on “Risk Scores”
               Reflecting Their Health Status and Other Risk Factors.

       26.     A Medicare Advantage organization’s base rate is just the starting point for

calculating the risk it assumes for a given beneficiary and the compensation it is due from CMS

for assuming that risk. That base rate reflects the estimated monthly cost of benefits for a fee-

for-service Medicare beneficiary with average health risks. But many Medicare Advantage

enrollees are more or less healthy than this average enrollee.

       27.     CMS accounts for these differences—and complies with Congress’s risk-

adjustment mandate—through a payment-adjustment methodology called the “CMS-HCC



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Model.” This model adjusts the base-rate payment for a given enrollee based on a “risk score,” 14

paying Medicare Advantage organizations less for enrollees with lower risk scores and more for

enrollees with higher risk scores. The agency calculates an enrollee’s risk score based on

demographic and health factors specific to the enrollee. To measure enrollees’ health risks, CMS

uses “diagnosis codes,” which are numeric codes associated with different health conditions.

Medicare Advantage organizations most often receive these diagnosis codes from claims forms

that doctors and other healthcare providers submit for their enrollees, and then the Medicare

Advantage organizations submit those codes to CMS as part of the risk-adjustment payment

process. Humana alone receives claims forms containing diagnosis codes from more than

900,000 contracted providers in its network, as well as numerous other out-of-network

providers.15

       28.     After CMS receives these diagnosis codes from Medicare Advantage

organizations, the agency groups related diagnosis codes into “Hierarchical Condition

Categories,” or “HCCs,” each of which represents a group of related health conditions. 16 To

capture the expected future costs associated with diagnosis codes in each group of conditions, the

agency assigns a “risk coefficient” to every HCC reflecting the average fee-for-service Medicare

spending associated with the diagnosis codes in that HCC. 17




       14
           Medicare Managed Care Manual, supra n.11, ch. 7, § 70.1.
       15
           Healthcare providers follow the same basic process when they treat beneficiaries in
fee-for-service Medicare, but in that case they submit claims forms, including diagnosis codes,
directly to CMS.
        16
           See CMS, Announcement of Calendar Year (CY) 2023 Medicare Advantage (MA)
Capitation Rates and Part C and Part D Payment Policies (“2023 Rate Notice”) at 4 (Apr. 4,
2022), https://www.cms.gov/files/document/2023-announcement.pdf.
        17
           Medicare Managed Care Manual, supra n.11, ch. 7, § 70.2.3. See also id. ch. 8, § 60.2,
https://www.cms.gov/regulations-and-guidance/guidance/manuals/downloads/mc86c08.pdf.


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       29.      To derive its risk coefficients, CMS performs a statistical regression analysis

measuring the association between diagnosis codes in each HCC and fee-for-service Medicare

payments.18 The regression estimates the average incremental healthcare cost to CMS when a

fee-for-service Medicare beneficiary’s claims include at least one diagnosis code in a given

HCC.

       30.      In measuring the association between healthcare expenses and diagnosis codes

reported by providers, at no point does CMS confirm that fee-for-service Medicare beneficiaries’

diagnosis codes are documented in their medical records. Instead, the calculation measures the

expected cost associated with the provider’s reporting of the diagnosis code in the claim form—

regardless of whether the provider documented the condition in the beneficiary’s medical record,

provided any course of treatment, or took any other action with respect to the reported condition.

CMS could measure the costs to fee-for-service Medicare associated with diagnoses or

treatments that are documented in the beneficiaries’ medical records, but the agency chose

instead an estimation process that measures only costs associated with the diagnosis codes that

providers reported in claims forms they submitted to fee-for-service Medicare.

       31.      After estimating the spending associated with different diagnosis codes in fee-for-

service Medicare claims data, CMS performs a statistical “normalization” that translates its cost

estimates into coefficients for different diagnosis codes, which can be added together to calculate

risk scores representing the actuarial risks associated with an enrollee’s reported diagnosis codes

and demographic characteristics. Following this normalization process, an average Medicare

beneficiary is expected to have a risk score of exactly 1.0. Each year, CMS publishes a rate

notice describing, among other things, the diagnosis codes it will use to risk adjust payments to



       18
            Medicare Managed Care Manual, supra n.11, ch. 7, § 70.1.


                                                 13
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Medicare Advantage organizations and the coefficient for each diagnosis code. Medicare

Advantage organizations rely on these annual rate notices to prepare and submit their Medicare

Advantage bids to CMS. Actuaries for these organizations factor the coefficients from the rate

notices—as well as the documentation standards used to develop them—into estimates of the

revenue required to provide benefits to an enrollee of average risk in a given geographic area.

See 42 U.S.C. § 1395w-24(a)(6)(A)(iii); 42 C.F.R. § 422.254(b)(5).

       32.       The annual rate notices are also key to determining a Medicare Advantage

enrollee’s risk score, which is the sum of all of their risk coefficients. This risk score includes

not only health-risk coefficients for diagnosis codes but also demographic coefficients measuring

the anticipated costs associated with age, sex, and other factors identified by CMS. A Medicare

Advantage organization’s payment for an enrollee is the plan’s base rate multiplied by the

enrollee’s risk score:




       33.       In a simplified example using the risk coefficients that CMS set for payment year

2023, a 77-year-old woman whose providers submit diagnosis codes to the Medicare Advantage

plan for acute myocardial infarction, chronic obstructive pulmonary disease, and pneumococcal

pneumonia would have a risk score of 1.135—or, stated another way, 0.135 (13.5 percent) above

average:

                             Risk Score                      Risk Coefficient19
                    Female, age 75-79                              0.420
                    Acute myocardial infarction
                                                                    0.219
                    (HCC 86)

       19
            See 2023 Rate Notice, supra n.16, at 123-27.


                                                  14
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                  Chronic obstructive pulmonary
                                                                 0.291
                  disease (HCC 111)
                  Pneumococcal pneumonia
                                                                 0.205
                  (HCC 115)
                  Total Risk Score                               1.135

       34.     If the plan’s base rate in this example is $1,000 per month, CMS would pay the

Medicare Advantage organization that administers the plan a monthly premium of $1,135 for this

enrollee—the $1,000 base rate multiplied by the enrollee’s risk score of 1.135.

       C.      Congress Designed a “Coding-Intensity Adjustment” to Account for
               Different Incentives in Fee-for-Service Medicare and Medicare Advantage.

       35.     In designing this risk-adjustment system, Congress feared that the program’s

incentive structure could systematically increase risk scores for Medicare Advantage enrollees,

undermining actuarial equivalence between Medicare Advantage and fee-for-service Medicare.

Whereas fee-for-service Medicare providers are compensated based on services rendered,

payments to Medicare Advantage organizations depend in part on the diagnosis codes reported to

CMS. So while fee-for-service Medicare providers have “no incentive to report more than one”

diagnosis code, Medicare Advantage organizations are incentivized to report all of an enrollee’s

diagnosis codes.20 CMS refers to this dynamic as an incentive for Medicare Advantage

organizations to “report more completely” than healthcare providers in fee-for-service Medicare.

CMS has long recognized that the relatively greater “completeness” of diagnosis codes reported

for Medicare Advantage enrollees as compared to fee-for-service Medicare beneficiaries is

separate and distinct from the question of whether diagnosis codes reported for Medicare




       20
          See Richard Kronick & W. Pete Welch, Measuring Coding Intensity in the Medicare
Advantage Program, Medicare & Medicaid Research Review, CMS, Vol. 4, No. 2, E3 (2014),
https://www.cms.gov/mmrr/downloads/mmrr2014_004_02_a06.pdf/.


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Advantage enrollees are more or less likely to be documented in the underlying medical records

than those reported for fee-for-service Medicare beneficiaries. 21

       36.     To address the two programs’ differing incentives, Congress instructed CMS to

develop and apply a “coding adjustment.” See 42 U.S.C. § 1395w-23(a)(1)(C)(ii). CMS must

“annually conduct an analysis of” “differences in coding patterns between Medicare Advantage

plans and providers under part[s] A and B” and “ensure that the results of such analysis are

incorporated . . . into” each year’s risk scores. Id. § 1395w-23(a)(1)(C)(ii)(I)-(II). The resulting

downward adjustment to risk scores to account for the incentive to code more completely in

Medicare Advantage is sometimes referred to as the “coding-pattern adjustment” or “coding-

intensity adjustment.”

       37.     Congress has set statutory minimums for the coding-intensity adjustment. See id.

§ 1395w-23(a)(1)(C)(ii)(III). Each year, before Medicare Advantage organizations submit their

bids, CMS announces the size of the coding-intensity adjustment for the following payment

year—the amount by which risk scores will be reduced to account for “differences in coding

patterns” between fee-for-service Medicare and Medicare Advantage. Id. § 1395w-

23(k)(2)(B)(iv)(III). Since 2019, CMS has applied the congressionally mandated minimum

coding-intensity adjustment of 5.9 percent, reducing each enrollee’s risk score by 5.9 percent

before multiplying it by the base rate to compute the monthly payment for the enrollee. The 77-




       21
         Id. at E3-E4; Advance Notice of Methodological Changes for Calendar Year (CY)
2009 for Medicare Advantage (MA) Capitation Rates and Part D Payment Policies, at 12 (Feb.
22, 2008), https://www.cms.gov/Medicare/Health-
Plans/MedicareAdvtgSpecRateStats/downloads/advance2009.pdf.


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year-old woman described above, for example, would have her risk score of 1.135 reduced by

5.9 percent, for a coding-intensity-adjusted risk score of 1.068. 22

III.   CMS’s Final Rule Fails to Reconcile Medicare Advantage Payment Audits with the
       Agency’s Statutory Mandates.

       38.       CMS periodically audits the diagnosis codes that Medicare Advantage

organizations submit to the agency; CMS conducts so-called Risk Adjustment Data Validation

(“RADV”) audits to perform this validation function. See 42 C.F.R. § 422.311. The RADV

audit program “validat[es]” the diagnosis codes that Medicare Advantage organizations submit

as part of the statutorily mandated risk-adjustment process. See 42 C.F.R. § 422.310(e); 42

U.S.C. § 1395w-23(a)(3)(B). According to CMS, RADV audits “ensure[] the integrity and

accuracy of risk adjustment payment data,” 42 C.F.R. § 422.2, thereby “further[ing] actuarial

equivalence.”23 Each year, CMS audits a subset of Medicare Advantage contracts and requires

the Medicare Advantage organizations that administer those contracts to submit medical records

for a sample of their enrollees. 42 C.F.R. § 422.310(e). CMS then evaluates whether the

medical records document the diagnosis codes the Medicare Advantage organizations submitted

to the agency.

       39.       For many years after launching the RADV audit program in 1999, CMS recouped

the payments corresponding only to those specific diagnosis codes within the audited sample that

were not documented in the medical records. For example, if a RADV audit found that the

medical records of the 77-year-old woman described above did not document a diagnosis code



       22
           In addition to the coding-intensity adjustment, CMS also adjusts the risk score by
applying the “normalization factor” described above, supra ¶ 31, which accounts for the trend in
the average risk score of fee-for-service Medicare beneficiaries between the year used to
calibrate the model and the payment year.
        23
           Medicare Program; Policy and Technical Changes to the Medicare Advantage and the
Medicare Prescription Benefit Programs, 75 Fed. Reg. 19,678, 19,747 (Apr. 15, 2010).


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for her acute myocardial infarction (HCC 86), CMS would recoup from the Medicare Advantage

organization the payment equal to $219 per month—the base rate of $1,000 multiplied by 0.219,

the risk coefficient of the undocumented acute myocardial infarction. 24

       A.      In 2010, CMS Announces Its Plan to “Extrapolate” RADV Audits, Ringing
               Actuarial Alarm Bells within the Industry.

       40.     In 2010, however, CMS announced that it would start using RADV audits to

estimate how many diagnosis codes lack documentation in the medical records across an audited

Medicare Advantage contract’s entire enrollee population—and to recover extrapolated contract-

wide repayments based on those estimates. Under this new proposal, CMS would still audit

diagnosis codes for only a small sample of a contract’s enrollees, but would use the results to

statistically estimate and recoup an extrapolated payment associated with the projected rate of

undocumented diagnosis codes for the entire audited contract. 25 Thus, rather than paying

Medicare Advantage organizations based on reported diagnosis codes they obtain from

healthcare providers, as CMS had always done, the agency proposed using RADV audits to pay

audited organizations based only on a statistical estimate of the diagnosis codes documented in

enrollees’ medical records.

       41.     In a comment letter to CMS in January 2011, Humana explained that the agency’s

proposal was “actuarially unsound . . . because it would simultaneously use two very different

sets of data to measure diagnoses—non-validated [fee-for-service Medicare] Claims Data” for

“the development of payment rates,” and “validated [Medicare Advantage] Claims Data”—




       24
        For simplicity, this example does not account for the coding-intensity adjustment.
       25
        CMS, Medicare Advantage Risk Adjustment Data Validation (RADV) Notice of
Payment Error Calculation Methodology for Part C Organizations Selected for Contract-Level
RADV Audits Request for Comment at 3 (Dec. 20, 2010).


                                                18
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documented in medical records—“on the back end of the [RADV] audit.” 26 That documentation

inconsistency, Humana explained, “would fundamentally undermine the risk adjustment

payment model by significantly underpaying” Medicare Advantage organizations “for the risks

they assume.”27 In other words, CMS calculates the cost estimates for its risk-adjustment

payment model (and therefore payment rates for Medicare Advantage contracts) based on claims

data—the expenses associated with the presence of a diagnosis code in a claim form that a

provider submits for the treatment of a fee-for-service Medicare beneficiary. CMS uses claims

forms, not medical records, to calculate the payment model’s cost estimates. This is a critical

distinction because fee-for-service Medicare beneficiaries’ medical records often do not contain

documentation of the diagnosis codes listed in their providers’ claims for payment. The

American Academy of Actuaries agreed with Humana’s concerns, warning CMS that this “type

of data inconsistency not only creates uncertainty, it also may create systematic underpayment,

undermining the purpose of the risk-adjustment system and potentially resulting in payment

inequities.”28 The next year, the group adopted an authoritative Actuarial Standard of Practice

(“ASOP”) requiring that the “type of input data that is used in the application of [a] risk




       26
           Letter from Heidi Margulis, Sr. Vice President, Humana, to Cheri Rice, Acting
Director of CMS, Re: Comment on RADV Sampling and Error Calculation Methodology (“2011
Humana Comment Letter”) at 2 (Jan. 21, 2011); see also Letter from Vanessa Olson, Senior Vice
President, Humana, to Seema Verma, Administrator, CMS, Re: Comment on 2018 Proposed
Rule, Technical Appendix, and Addendum (“2019 Humana Comment Letter”) at 10 n.36
(Aug. 28, 2019), https://www.regulations.gov/comment/CMS-2018-0133-0257 (citing Humana’s
2011 Comment Letter to CMS on RADV Sampling and Error Calculation Methodology).
        27
           2011 Humana Comment Letter, supra n.26, at 1.
        28
           Letter from Thomas F. Wildsmith, Vice President, American Academy of Actuaries, to
Cheri Rice, Acting Director, CMS, Re: Comment on RADV Sampling and Error Calculation
Methodology (“AAA Comment Letter”) at 2 (Jan. 21, 2011),
https://www.actuary.org/content/comments-cms-radv.


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adjustment [model] . . . be reasonably consistent with the type of data used to develop the

model.”29

       42.     The American Academy of Actuaries expected this data inconsistency to produce

underpayments to Medicare Advantage organizations because the differing documentation

standards would result in CMS using a larger pool of fee-for-service Medicare beneficiaries

when calculating the average costs associated with a diagnosis code than if the agency relied on

medical-record documentation to perform the same calculation. 30 As a matter of simple math,

dividing the costs associated with a diagnosis code across a larger pool of beneficiaries will tend

to yield lower averages. To give a simplified example, if CMS were to divide $1,000 of total

spending associated with epilepsy among 100 beneficiaries whose doctors report an epilepsy

diagnosis code in fee-for-service Medicare claims data, it would calculate an average

incremental cost of $10 per beneficiary with a reported epilepsy code. But if the agency instead

audited those claims forms against the underlying medical records for those beneficiaries and

found that 50 of the diagnosis codes were not documented in the medical records, it would divide

the $1,000 in spending associated with epilepsy across only the remaining 50 diagnosis codes,

for an average expected incremental cost of $20 per beneficiary with a documented diagnosis

code. Using unaudited data therefore leads to a larger denominator that decreases the agency’s

estimate of the average cost associated with epilepsy diagnosis codes. CMS’s lower estimate, in

turn, yields lower payments to Medicare Advantage organizations for each epilepsy diagnosis

code they report for Medicare Advantage enrollees.




       29
         Actuarial Standards Bd., The Use of Health Status Based Risk Adjustment
Methodologies, § 3.2 (2012), http://www.actuarialstandardsboard.org/pdf/asop045_164.pdf.
      30
         AAA Comment Letter, supra n.28, at 2.


                                                20
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       43.     This risk-adjustment methodology can adequately compensate Medicare

Advantage organizations for the risks they assume in insuring their enrollee populations because

CMS’s risk-adjustment model is supposed to predict costs according to the existence of certain

data markers: diagnosis codes reported in claims data. What matters in the agency’s rate-setting

calculations is whether those data markers are predictive of future costs; under the agency’s rate-

setting approach, it does not matter whether those data markers would be documented in the

underlying medical records. If CMS opted to base its risk-adjustment model on a different data

marker—for instance, diagnosis codes documented in medical records—the payment rates for

Medicare Advantage organizations would differ significantly. Returning to the epilepsy

example, the rate would be $20, rather than the $10 that CMS predicted using unaudited fee-for-

service Medicare claims data.

       44.     These lower payment rates do not undercompensate Medicare Advantage

organizations or disrupt actuarial equivalence so long as CMS maintains consistency in the

documentation standards between fee-for-service Medicare and Medicare Advantage. CMS can

compensate Medicare Advantage organizations in an actuarially sound manner using cost

estimates based on either diagnosis codes reported in claims forms or diagnosis codes

documented in medical records—as long as it uses the same documentation standard to calculate

payments. To continue the above example, if the epilepsy diagnosis codes that physicians report

to Medicare Advantage organizations are not documented in the medical records at the same 50

percent rate as in fee-for-service Medicare claims data, then a population of 100 enrollees with

reported epilepsy codes will include 50 enrollees whose medical records actually document the

codes and another 50 whose medical records do not. The lower $10 per-reported-code estimate

will pay an additional $1,000 for those 100 enrollees—the incremental expense associated with




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100 reported epilepsy diagnosis codes in fee-for-service Medicare claims data. If CMS instead

chose to calculate rates and pay Medicare Advantage organizations using only diagnosis codes

documented in the medical records, the higher $20 per-code estimate will pay an additional

$1,000 for the 50 enrollees whose medical records document the codes—again, the same amount

CMS would expect to pay that same population in fee-for-service Medicare. In either scenario,

maintaining consistency between the documentation standard used to set Medicare Advantage

payment rates and the documentation standard used to calculate those payments will ensure

actuarial equivalence between the two programs and accurately compensate Medicare Advantage

organizations for the health risks of their enrollees.

       45.      The actuarial defect with CMS’s 2010 RADV proposal was that it threatened to

introduce a double standard by: (1) using reported diagnosis codes when estimating fee-for-

service Medicare costs, resulting in lower cost estimates and thus lower Medicare Advantage

payment rates; and (2) using only diagnosis codes documented in the medical records to make

actual payments to audited Medicare Advantage organizations, resulting in fewer Medicare

Advantage payments. When extrapolated across entire Medicare Advantage contracts, this

documentation mismatch would have first estimated lower payment rates and then applied the

lower rates to fewer Medicare Advantage enrollees.

       46.      Commenters in 2010 also expressed concern to CMS about the effect of the

proposal on Medicare Advantage organizations’ past and future bids. Humana explained that if

its prior bids had accounted for the revenue reduction threatened by the proposed RADV audit

methodology, they “would have been substantially higher, resulting in higher member premiums

and/or fewer supplemental benefits offered to members.” 31 And the American Academy of



       31
            2011 Humana Comment Letter, supra n.26, at 8.


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Actuaries noted that “the uncertainty related to a plan’s ultimate post-audit risk score could make

it difficult for actuaries to . . . certify the plan bid.”32

        47.      CMS documents obtained under the Freedom of Information Act show that the

agency reviewed independent market analyses voicing similar concerns. One report circulated

within CMS concluded that “RADV audits completed so far have mostly uncovered that

physicians keep poor records and not that [Medicare Advantage] plans have been systematically

misstating medical records to inflate premiums.” CMS’s proposed audit methodology, the report

predicted, would make Medicare Advantage plans “bid higher for Medicare contracts and

charg[e] seniors higher premiums with lower benefits to price for ongoing audit fines.” CMS

moved quickly to address these concerns. The agency sent a February 2011 letter to Medicare

Advantage organizations acknowledging that commenters had proposed an adjustment

mechanism to account for the inconsistent documentation standards in the proposed RADV audit

methodology. CMS stated that the agency was “thoroughly evaluating all comments and

anticipate[d] making changes to [the] draft” methodology.

        48.      Other internal agency documents show that CMS knew the documentation

inconsistency would result in systematic underpayments to Medicare Advantage organizations.

CMS acknowledged that its use of unaudited fee-for-service Medicare claims data—which

include diagnosis codes “for beneficiaries who don’t actually have the disease, or for whom the

medical record documentation is not clear”—to set risk coefficients for payments to Medicare

Advantage organizations “tends to reduce the estimated average costs of various conditions and

therefore our [Medicare Advantage] risk adjustment factors.” One internal CMS document

provided an illustration, featuring four hypothetical fee-for-service Medicare beneficiaries whose



        32
             AAA Comment Letter, supra n.28, at 2.


                                                      23
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healthcare providers reported a diagnosis code for diabetes in claims forms submitted to the

agency, but where only three of the beneficiaries’ medical records actually documented such a

diagnosis code. This illustration showed that by using diagnosis codes reported in claims forms

to estimate how much fee-for-service Medicare would pay to cover these beneficiaries—the

“Diabetes on Claim?” column—but medical records to make payments to Medicare Advantage

organizations—the “Diabetes in medical record?” column—CMS would depress the average

expected cost associated with a diabetes diagnosis code by 25 percent, from $4,000 to $3,000.

                                    Internal CMS Document




In this example, fee-for-service Medicare paid $12,000 in benefits for this population of four

beneficiaries. If CMS determined the beneficiaries’ expected healthcare expenditures based only

on reported diagnosis codes in claims forms, it would divide that $12,000 by the four diabetes

diagnosis codes for an average cost of $3,000 (the “Diabetes Value for MA payment” in CMS’s

document). But if it instead determined the average expected healthcare expenditures based on

diagnosis codes documented in the medical records, it would divide $12,000 among only the




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three beneficiaries whose medical records document their diagnosis code, for an average cost of

$4,000.

          49.   Either figure—$3,000 or $4,000—could compensate Medicare Advantage

organizations in an actuarially equivalent manner if CMS used the same documentation standard

to “develop” the payment rate (i.e., calculate the risk coefficients) that it uses to “apply” the

payment rate (i.e., calculate risk-adjustment payments and recoupments). If CMS used

documented diagnosis codes to calculate the risk coefficient for diabetes and also paid the

Medicare Advantage organization only for enrollees with documented diagnosis codes in the

medical records, it would calculate a $4,000 average cost per enrollee and pay the organization

that amount for three enrollees—a total of $12,000. Similarly, if CMS used only diabetes

diagnosis codes reported in fee-for-service Medicare claims data to calculate the risk coefficient

and paid the organization for all enrollees reported to have diabetes diagnosis codes, it would

calculate a $3,000 average cost and pay the organization that amount for four enrollees—also a

total of $12,000.

          50.   But CMS’s 2010 proposal—to use reported diagnosis codes to calculate risk

coefficients while paying audited organizations only for documented diagnosis codes—would

have calculated a $3,000 average cost for diabetes diagnosis codes and paid that amount for only

three enrollees, for a total of just $9,000. This scenario would have resulted in CMS paying the

Medicare Advantage organization $3,000 less than fee-for-service Medicare would pay for the

same four beneficiaries’ Medicare benefits. In its internal documents, CMS illustrated why this

inconsistency in the documentation standard was problematic with the graphic below, showing

that using inconsistent documentation standards would compensate a Medicare Advantage




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organization $9,000 (shown in the final column) to provide care expected to cost fee-for-service

Medicare $12,000 (shown in the “Plan Cost” column).

                                    Internal CMS Document




       51.     CMS thus concluded internally that it could not use “one documentation standard

for RADV, which is perfection,” and “another documentation standard for risk adjustment,

which reflects a certain level of [fee-for-service Medicare] codes that aren’t documented in a

medical record.” Rather, CMS reasoned that “[f]or our payments to be as accurate as possible,

we should be using the same standard for both.” To remedy this actuarial defect, CMS

considered a so-called Fee-for-Service Adjuster (“FFS Adjuster”) that would “offset . . . recovery

amounts under RADV” audits to account for diagnosis codes in fee-for-service Medicare claims

data that were not documented in the beneficiaries’ medical records. By “tak[ing] into account

how CMS payments would change if [the] perfection standard that is applied under RADV was

also used when calculating risk-adjustment model values,” this FFS Adjuster would ensure “that

RADV and [Medicare Advantage] payments are on the same documentation standard.” Given

the underpayments threatened by its inconsistent documentation standard, the agency concluded

that the FFS Adjuster “makes sense and from a technical point of view is the right thing to do.”


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       B.      In 2012, CMS Publicly Acknowledges This Actuarial Problem by
               Committing to Apply a “Fee-for-Service Adjuster” to Extrapolated RADV
               Audits, and Humana Relies on This Commitment in Structuring Its
               Medicare Advantage Bids.

       52.     In February 2012, CMS issued a notice that publicly adopted the FFS Adjuster in

a revised RADV audit methodology, which recognized “that the documentation standard used in

RADV audits to determine a contract’s payment error (medical records) is different from the

documentation standard used to develop the Part C risk-adjustment model (FFS claims),” and

promised to “account[] for” that difference using the FFS Adjuster. 33 CMS stated that it would

calculate the FFS Adjuster “based on a RADV-like review of records submitted to support [fee-

for-service Medicare] claims data,” and would apply it “as an offset” to any payments that it

recovered in extrapolated RADV audits.34

       53.     In the years that followed the 2012 notice, Humana expressly premised its

Medicare Advantage bids on the understanding that CMS would use an FFS Adjuster in RADV

audits and structured its business practices in reliance on the agency’s 2012 commitment.

Humana’s annual bid certifications explicitly relied on CMS’s public commitment to account for

the different documentation standards used to calculate Medicare Advantage payment rates and

conduct RADV audits before recouping any payments associated with diagnosis codes that were

not documented in enrollees’ medical records. 35


       33
            CMS, Notice of Final Payment Error Calculation Methodology for Part C Medicare
Advantage Risk Adjustment Data Validation Contract-Level at 1-2 (Feb. 24, 2012),
https://www.cms.gov/Research-Statistics-Data-and-Systems/Monitoring-Programs/recovery-
audit-program-parts-c-and-d/Other-Content-Types/RADV-Docs/RADV-Methodology.pdf.
         34
            Id.
         35
            2019 Humana Comment Letter, supra n.26, at 17 (quoting Bid ID H0028-004 (Aug.
10, 2017)) (“[R]evenue and risk score projections in the bid(s) are based on the assumption that
final risk scores will be calculated and payments and overpayments will be determined consistent
with the fact that CMS has used diagnoses contained in administrative claims data (and not
medical records) to calculate risk coefficients and risk scores for [Medicare] FFS
beneficiaries.”).


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       54.     For more than six years, CMS said nothing else publicly or to Humana about how

the FFS Adjuster would work. Though CMS approved Humana’s Medicare Advantage bids

each year, the agency did not respond to Humana’s bid certifications. CMS did not even

announce a methodology for calculating the FFS Adjuster, let alone apply an FFS Adjuster to

“offset” and finalize pending RADV audits. Instead, the agency allowed its RADV audits to

drag on for years, leaving Medicare Advantage organizations in limbo on the details of the FFS

Adjuster.

       C.      In 2018, CMS Proposes Retracting the FFS Adjuster Based on a Deeply
               Flawed Study.

       55.     In late 2018, after years of silence, CMS unexpectedly abandoned its commitment

to the FFS Adjuster. This reversal was closely tied to litigation over a different Medicare

Advantage payment regulation (“the Overpayment Rule”), which required Medicare Advantage

organizations to return any funds received for individual diagnosis codes that the Medicare

Advantage organization knew were not documented in the medical record. 36 Judge Rosemary

M. Collyer of the U.S. District Court for the District of Columbia vacated the Overpayment Rule

on September 7, 2018. Judge Collyer pointed to the same inconsistent documentation standard at

the heart of the RADV dispute to find that automatically requiring Medicare Advantage

organizations to refund payments for diagnosis codes that were not documented in the medical

record, without taking into account the presence of codes in fee-for-service Medicare claims data

that also were not documented in the medical record, would “inevitabl[y]” undercompensate



       36
          See UnitedHealthcare Ins. Co. v. Azar, 330 F. Supp. 3d 173, 176 (D.D.C. 2018); see
also Medicare Program; Contract Year 2015 Policy and Technical Changes to the Medicare
Advantage and the Medicare Prescription Drug Benefit Programs, 79 Fed. Reg. 29,843, 29,921
(May 23, 2014) (“For example, a risk adjustment diagnosis that has been submitted for payment
but is found to be invalid because it does not have supporting medical record documentation
would result in an overpayment.”).


                                                28
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them.37 Among other things, Judge Collyer held that this discrepancy departed from CMS’s

2012 promise of an FFS Adjuster in the RADV audit context, which had recognized the need to

account for the inconsistent documentation standards. 38

       56.     On November 1, 2018, just two months after Judge Collyer’s decision vacating

the Overpayment Rule, CMS broke its six-year silence on the FFS Adjuster with a new Proposed

Rule for RADV audits. The Proposed Rule reversed course on the FFS Adjuster, announcing

that no FFS Adjuster would be applied to extrapolated RADV audit recoveries. The Proposed

Rule relied heavily on a study purportedly showing that diagnosis codes in fee-for-service

Medicare claims data that were not documented in the medical record did not “bias” payments to

Medicare Advantage organizations. As an alternative rationale for eliminating the FFS Adjuster,

CMS stated that even if unaudited fee-for-service Medicare claims data did systematically bias

payments to Medicare Advantage organizations, a “RADV-specific payment adjustment” would

be inappropriate because it “would introduce inequities between audited and unaudited”

organizations “by only correcting the payments made to audited” organizations. 39 CMS did not

initially release the study or its underlying data, nor did CMS’s Chief Actuary certify the study,

as required by agency guidelines.

       57.     Just four days after releasing the Proposed Rule and study, CMS rushed the study

into court to seek reconsideration of Judge Collyer’s holding that the Overpayment Rule violated

the Medicare Act’s requirement of actuarial equivalence. Judge Collyer denied the agency’s




       37
          Azar, 330 F. Supp. 3d at 184-87.
       38
          Id. at 189-90.
       39
          Medicare and Medicaid Programs; Policy and Technical Changes to the Medicare
Advantage, Medicare Prescription Drug Benefit, Program of All-Inclusive Care for the Elderly
(PACE), Medicaid Fee-for-Service, and Medicaid Managed Care Programs for Years 2020 and
2021, 83 Fed. Reg. 54,982, 55,041 (Nov. 1, 2018).


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motion, ruling that CMS should not have waited until the “11th hour” to produce the study and

introduce it into the Overpayment Rule litigation.40 The United States Court of Appeals for the

District of Columbia Circuit (“D.C. Circuit”) later reversed Judge Collyer’s ruling, holding that

actuarial equivalence does not apply to the Overpayment Rule but also observing—importantly

for this case—that RADV audits are “plainly distinguishable” from overpayment refunds. 41

       58.     The late-released study was the centerpiece of CMS’s proposal to abandon the

FFS Adjuster. After commenters noted that CMS’s Proposed Rule did not divulge enough

information about the study to allow for meaningful review, the agency trickled out additional

data over months before eventually admitting that it had lost key outputs from the study and

would need to replicate its analysis. In June 2019, CMS released its second attempt at the study,

which came to a similar conclusion as the original: that “diagnosis error in . . . FFS [claims] data

does not” lead to systematic “payment bias” in the Medicare Advantage program. 42

       59.     This do-over confirmed that the study was as ramshackle as the process that

produced it. Commenters, including Humana, explained how a series of methodological errors

by the agency guaranteed that its study would produce the exact result the agency needed in the

Overpayment Rule litigation by finding no payment bias regardless of what the underlying data

actually showed. Among other methodological flaws, Humana noted that CMS had drastically

underestimated the rates of diagnosis codes in fee-for-service Medicare claims data that were not

documented in the medical record and had introduced a statistically inexplicable “adjustment”



       40
           UnitedHealthcare Ins. Co. v. Azar, 2020 WL 417867, at *4 (D.D.C. Jan. 27, 2020).
       41
           Becerra, 16 F.4th at 870, 893 n.1.
        42
           CMS, Fee for Service Adjuster and Payment Recovery for Contract Level Risk
Adjustment Data Validation Audits – Technical Appendix, at 16 (Oct. 26, 2018),
https://www.cms.gov/Research-Statistics-Data-and-Systems/Monitoring-Programs/Medicare-
Risk-Adjustment-Data-Validation-Program/Other-Content-Types/RADV-Docs/FFS-Adjuster-
Technical-Appendix.pdf.


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that was guaranteed to erase any payment bias the study would have otherwise detected. When

external expert actuaries retained by Humana replicated the study eliminating these errors, they

found that the presence of diagnosis codes in fee-for-service Medicare claims data not

documented in the associated medical records deflated Medicare Advantage payment rates by at

least 9.9 percent as compared to payment rates derived from audited data that included only

diagnosis codes documented in the medical record. 43

       60.     In short, when properly analyzed, even CMS’s flawed and incomplete study

actually confirmed that eliminating the FFS Adjuster would disrupt actuarial equivalence.

CMS’s own internal documents seemed to acknowledge this fact, describing an earlier version of

the study that had estimated Medicare Advantage payments would be 8.1 percent higher if the

agency’s risk-adjustment “model had been built using perfect data.”

       61.     In its comment on the Proposed Rule, Humana also explained that the Medicare

statute’s mandatory coding-intensity adjustment does not license CMS to conduct actuarially

unsound RADV audits lacking an FFS Adjuster. As CMS has repeatedly acknowledged, the

coding-intensity adjustment and RADV audits address two distinct actuarial problems: The

coding-intensity adjustment accounts for Medicare Advantage organizations’ greater incentive to

code more completely than fee-for-service Medicare providers, whereas RADV audits

“validat[e] that diagnosis codes submitted for risk adjustment are documented in the medical

record” and do not address “coding pattern differences” between Medicare Advantage and fee-




       43
          See Ross Winkelman, Actuarial Report on CMS’ November 1, 2018 Proposed Rule at
8, 19 (Aug. 27, 2019), https://www.regulations.gov/comment/CMS-2018-0133-0257; see also
Bo Martin, Comment Regarding CMS’s Proposals Not to Implement a “Fee-for-Service
Adjuster” For RADV Audits and To Implement a Sub-Cohort Audit Method, § 4.5.4 (Aug. 27,
2019), https://www.regulations.gov/comment/CMS-2018-0133-0257.


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for-service Medicare.44 Humana explained that the coding-intensity adjustment’s slight

reduction to Medicare Advantage payment rates in no way authorizes CMS to conduct contract-

wide extrapolated audits using a different documentation standard than was used to develop the

Medicare Advantage risk-adjustment payment model.

       62.     Finally, Humana’s comment letter also explained that CMS lacked statutory

authority to eliminate the FFS Adjuster retroactively.45 Humana noted that applying the

agency’s proposal only prospectively would not “be contrary to the public interest,” and that

retroactive application therefore was not permissible under 42 U.S.C. § 1395hh(e)(1)(A)(ii). 46 In

particular, Humana explained that its legitimate reliance on CMS’s past promises—which had

underpinned Humana’s Medicare Advantage bid calculations for years—outweighed any

conceivable public interest in upending Humana’s bid assumptions years after the fact. 47

IV.    CMS’s Final Rule Abandons Its Own Study and Instead Relies Solely on Erroneous
       Legal Rationales to Argue that RADV Audits Need Not Honor Actuarial Principles.

       63.     CMS published its Final Rule on February 1, 2023—more than four years after

issuing its Proposed Rule, more than three years after receiving Humana’s comments, and after

twice extending its statutory deadline to finalize the Proposed Rule. 48 The Final Rule disavowed

the study that had been the Proposed Rule’s chief justification, emphasizing its “inherent



       44
           CMS, Announcement of Calendar Year (CY) 2018 Medicare Advantage Capitation
Rates and Medicare Advantage and Part D Payment Policies and Final Call Letter and Request
for Information at 41 (Apr. 3, 2017), https://www.cms.gov/medicare/health-
plans/medicareadvtgspecratestats/downloads/announcement2018.pdf.
        45
           2019 Humana Comment Letter, supra n.26, at 19-22.
        46
           Id. at 20.
        47
           Id. at 17, 21-22.
        48
           Medicare and Medicaid Programs; Policy and Technical Changes to the Medicare
Advantage, Medicare Prescription Drug Benefit, Program of All-Inclusive Care for the Elderly
(PACE), Medicaid Fee-for-Service, and Medicaid Managed Care Programs for Years 2020 and
2021 (“Final Rule”), 88 Fed. Reg. 6643 (Feb. 1, 2023),
https://www.govinfo.gov/content/pkg/FR-2023-02-01/pdf/2023-01942.pdf.


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limitations.”49 CMS likewise declined to rely on the Proposed Rule’s only other rationale for

dispensing with the FFS Adjuster—the contention that using an FFS Adjuster would somehow

“introduce inequities between audited and unaudited plans.” Rather than defend the actuarial

soundness of its new policy, the agency simply declared that “[e]ven if systematic payment error

exists”—that is, even if diagnosis codes in fee-for-service Medicare claims data that are not

documented in the medical record in fact depress Medicare Advantage payment rates, as the

evidence has repeatedly shown—an FFS Adjuster was not required because that systematic

under-compensation “does not impact the requirement that submitted [diagnosis codes] must be

adequately supported by medical records.” 50 To support its pursuit of actuarially unsound audit

recoveries, the agency offered two new, purely legal rationales.

       64.     First, while the Final Rule recognized that the D.C. Circuit’s decision in the

Overpayment Rule litigation, UnitedHealthcare Insurance Co. v. Becerra, 16 F.4th 867 (D.C.

Cir. 2021), did not address RADV audits, CMS nevertheless asserted that Becerra is “consistent

with” the proposition that the “actuarial equivalence provision of the [Medicare] statute applies

only to how CMS risk adjusts the payments it makes to [Medicare Advantage organizations] and

not to the obligation of [Medicare Advantage organizations] to return improper payments (for

example, payments for unsupported diagnosis codes).” 51 But the agency—which never sought

comment on Becerra’s significance to the Proposed Rule—said nothing about the key

differences that Becerra itself highlighted, neglecting even to mention the D.C. Circuit’s

observation that the RADV audit context is “materially distinct” from payment recoveries under




       49
          Id. at 6659.
       50
          Id.
       51
          Id. at 6644.


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the Overpayment Rule.52 Among other key differences, whereas the Overpayment Rule

“requires only that an insurer report and return to CMS known errors in its beneficiaries’

diagnoses,” contract-level “RADV audits . . . would effectively eliminate—and require

repayment for—all unsupported codes in a Medicare Advantage insurer’s data.” 53 The Final

Rule does not explain beyond ipse dixit why Becerra’s reasoning nevertheless applies to RADV

audits and exempts this agency policy from the Medicare statute’s actuarial-equivalence

requirement.

       65.     Before issuing the Final Rule, CMS had never even hinted at the view that RADV

audits are exempt from this statutory requirement. On the contrary, CMS had recognized that

RADV audits function specifically to “further actuarial equivalence.” 54 CMS’s proposal of an

FFS Adjuster in 2012 and its attempt to study the actuarial justifications for such an adjustment

in 2018 further confirmed the agency’s understanding that RADV audits must satisfy actuarial

equivalence. And rightly so: There is no conceivable reason why Congress would have allowed

the agency to unravel the actuarial soundness of the Medicare Advantage program—and evade

the Medicare statute’s actuarial-equivalence requirement—through actuarially baseless contract-

wide audit recoveries.

       66.     Nor did the agency explain why, even absent a statutory mandate, it would be

reasonable for a critically important health-insurance program to ignore sound actuarial

principles. CMS made no attempt to defend its new methodology as actuarially sound, or to




       52
           Becerra, 16 F.4th at 892.
       53
           Id. (emphasis added).
        54
           75 Fed. Reg. at 19,747, supra n.23; see also 42 U.S.C. § 1395w-23(a)(3)(B) (requiring
CMS to collect data from Medicare Advantage organizations in order to develop risk-adjustment
methodology); 42 C.F.R. § 422.308(c) (describing risk-adjustment process, including data
collection); id. § 422.310(e) (mandating “[v]alidation of risk adjustment data”).


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explain why the agency could simply abandon an actuarially sound remedy for the inconsistent

documentation standards that it chose to apply to RADV audits, a fix it had previously

recognized as “the right thing to do” in the administration of a health-benefits program on which

tens of millions of seniors rely for their healthcare.

       67.       Second, CMS stated that it is not required to apply an FFS Adjuster because

“it would be unreasonable to interpret the [Social Security] Act as requiring a minimum

reduction in payments in one provision (the coding pattern provision), while at the same time

prohibiting CMS in an adjacent provision (the actuarial-equivalence provision) from enforcing

those longstanding requirements (by requiring an offset to the recovery amount calculated for

CMS audits).”55 In other words, CMS asserted that Congress’s mandate of a minimum

downward adjustment of risk scores—the coding-intensity adjustment—means that the actuarial-

equivalence requirement does not “requir[e] an offset” to RADV audit recoveries in the form of

an FFS Adjuster.

       68.       That rationale’s premise is false on its face: The FFS Adjuster does not “prohibit”

CMS from enforcing “longstanding documentation requirements,” but only requires that any

such enforcement honor fundamental actuarial principles by taking into account the

documentation standard used to calibrate CMS’s risk-adjustment payment model. CMS is free to

enforce documentation requirements so long as it does so in a manner that does not disrupt

actuarial equivalence. Regardless, CMS’s one-sentence rationale offered no logical justification

for the agency’s conclusion. As Humana explained in its comments on the Proposed Rule, the

coding-intensity adjustment and FFS Adjuster both further actuarial equivalence but do so by

targeting different issues: The coding-intensity adjustment furthers actuarial equivalence



       55
            Final Rule, supra n.48, at 6656.


                                                  35
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between fee-for-service Medicare and Medicare Advantage by addressing Medicare Advantage

organizations’ incentive to code more completely than fee-for-service Medicare providers; the

FFS Adjuster furthers actuarial equivalence by addressing the inconsistent documentation

standards used to calculate Medicare Advantage payment rates and RADV audit recoveries. For

at least a decade before the Final Rule, CMS repeatedly pointed to the distinction between these

two contexts to assure commenters that the coding-intensity adjustment was not “duplicative of

any RADV audit-related adjustments” and that CMS was not “double counting the impact” of

diagnosis codes submitted to CMS that were not documented in the medical record. 56

       69.      The Final Rule does not even try to explain how the coding-intensity adjustment’s

limited reduction of payments to account for more complete diagnosis coding in Medicare

Advantage—a reduction that Medicare Advantage organizations can specifically factor into their

bids—would give CMS free rein to further reduce such payments after the bids are submitted

without regard for basic actuarial principles. Given CMS’s longstanding position that the

coding-intensity adjustment and RADV audits address distinct issues, the Final Rule fails to

explain why the coding-intensity adjustment would have any bearing on the actuarial principles

that govern RADV audits. And to the extent CMS has now abandoned its longstanding position

that the two issues are distinct, it failed to explain why the coding-intensity adjustment would not

therefore be “duplicative of any RADV audit-related adjustments,” as commenters had long

questioned.57




       56
          CMS, Announcement of Calendar Year (CY) 2011 Medicare Advantage Capitation
Rates and Medicare Advantage and Part D Payment Policies and Final Call Letter at 18-19 (Apr.
5, 2010), https://www.cms.gov/Medicare/Health-
Plans/MedicareAdvtgSpecRateStats/Downloads/Announcement2011.pdf.
       57
          Id. at 18.


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        70.     In reality, the coding-intensity adjustment underscores that ensuring actuarial

equivalence requires CMS to maintain consistency between the documentation standard used to

calculate payments to Medicare Advantage organizations and the documentation standard used

to calibrate Medicare Advantage payment rates. Just as greater coding intensity in Medicare

Advantage required an adjustment to maintain consistency between the two programs, so too

does the presence of diagnosis codes in fee-for-service Medicare claims data that are not

documented in the medical record.

        71.     Finally, the Final Rule announced the agency’s intent to apply the new policy

retroactively, beginning with payment-year 2018 RADV audits. Although CMS abandoned its

even more draconian plan to extrapolate audit results all the way back to payment year 2011, it

did not address commenters’ concerns that retroactively applying the Final Rule nonetheless

exposes Medicare Advantage organizations to unanticipated and unaccounted-for liabilities at

odds with CMS’s past promises.

                                       CAUSES OF ACTION

                                              COUNT I:

 VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT — RATIONALE FOR
                             FINAL RULE
                       (5 U.S.C. § 706(2)(A), (C))


        72.     Plaintiffs re-allege and incorporate by reference the allegations contained in all

preceding paragraphs.

        73.     Under the APA, the Court shall “hold unlawful and set aside agency action,

findings, and conclusions found to be . . . arbitrary [and] capricious, an abuse of discretion, or

otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A), or “in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right,” id. § 706(2)(C).



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        74.     Defendants’ promulgation of the Final Rule is a final agency action within the

meaning of Section 704 of the APA. First, the Final Rule consummates CMS’s decision-making

process on whether it will apply an FFS Adjuster in its extrapolated RADV audits of Medicare

Advantage organizations. Second, several significant consequences flow from the Final Rule,

including (1) the final RADV audit methodology that binds CMS and Medicare Advantage

organizations, and (2) the revenue that Humana and other Medicare Advantage organizations can

reasonably project when certifying bids for benefit plans offered to beneficiaries of the program.

        75.     Defendants offer no empirical or factual justification for their decision not to

apply an FFS Adjuster. To the contrary, Defendants expressly disclaim any reliance on their

prior study. Instead, Defendants’ decision not to apply an FFS Adjuster in RADV audits is based

exclusively on two legal arguments. Both arguments are incorrect.

        76.     In addition, Defendants’ articulation of these legal rationales does not adequately

explain the justification for their change in policy, particularly after acknowledging for many

years that an FFS Adjuster would be required to correct the inconsistent documentation standard

used in RADV audits. Defendants’ failure to provide an adequate, reasoned explanation for their

action in adopting the Final Rule violates the APA’s requirements for reasoned agency decision-

making.

        77.     Defendants’ promulgation of the Final Rule is therefore arbitrary and capricious

and not in accordance with law, in violation of 5 U.S.C. § 706(2)(A), and in excess of

Defendants’ statutory jurisdiction, authority, or limitations, or short of statutory right, in

violation of 5 U.S.C. § 706(2)(C).




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                                             COUNT II:

 VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT — RETROACTIVITY
                       (5 U.S.C. § 706(2)(A), (C))


        78.     Plaintiffs re-allege and incorporate by reference the allegations contained in all

preceding paragraphs.

        79.     Under the APA, the Court shall “hold unlawful and set aside agency action,

findings, and conclusions found to be . . . arbitrary [and] capricious, an abuse of discretion, or

otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A), or “in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right,” id. § 706(2)(C).

        80.     Section 1871(e) of the Medicare statute prohibits CMS from applying rules

retroactively unless “retroactive application is necessary to comply with statutory requirements”

or “failure to apply the change retroactively would be contrary to the public interest.” 42 U.S.C.

§ 1395hh(e)(1)(A).

        81.     CMS must publish an annual rate notice that includes the risk and other factors to

be used in adjusting payment rates under the Medicare Advantage program for the relevant

contract year. 42 U.S.C. § 1395w-24(b)(1), (2). CMS never disclosed the elimination of the FFS

Adjuster in any of the annual rate notices on which Humana relied to construct its bids to CMS

for the Medicare Advantage program.

        82.     Since at least 2012, Humana’s Medicare Advantage bids have been predicated on

its reasonable understanding that CMS would apply an FFS Adjuster before making any

recoupments resulting from RADV audits.

        83.     Humana’s actuaries certified that its prior-year bids were actuarially sound based

on an estimate of the revenue required to pay for the benefits that they expected Humana to

provide to its Medicare Advantage enrollees. As Humana explained in its bid submission to


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CMS each year, that certification was based on the reasonable assumption that “final risk scores

will be calculated and payments and overpayments will be determined consistent with the fact

that CMS has used diagnoses contained in administrative claims data (and not medical records)

to calculate risk coefficients and risk scores for [Medicare] FFS beneficiaries,” and that CMS

“will . . . apply[] a Fee-for-Service Adjuster . . . to account for the fact that the documentation

standard used in RADV audits to determine a contract’s payment error (medical records) is

different from the documentation standard used to develop the Part C risk-adjustment model

([Medicare] FFS claims).”58

       84.     CMS’s application of the Final Rule to RADV audits for prior years undermines

the basis on which Humana’s Medicare Advantage bids were certified to the agency.

Application of the Final Rule to any Medicare Advantage contract before Humana was able to

account for the Final Rule in bids underlying that contract is retroactive.

       85.     CMS abused its discretion by concluding that retroactive application of the Final

Rule is necessary to comply with statutory requirements.

       86.     CMS further abused its discretion by concluding that failure to apply the Final

Rule retroactively is contrary to the public interest.

       87.     Defendants’ promulgation of a Final Rule that applies to payment years before

2024 therefore exceeds their statutory authority and constitutes an abuse of discretion. 5 U.S.C.

§ 706(2)(A), (C).




       58
         2019 Humana Comment Letter, supra n.26, at 17-18 (quoting Bid ID H0028-004 (Aug.
10, 2017)).


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                                           COUNT III:

   VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT — INADEQUATE
                               NOTICE
                         (5 U.S.C. § 706(2)(D))


       88.     Plaintiffs re-allege and incorporate by reference the allegations contained in all

preceding paragraphs.

       89.     Under the APA, the Court shall “hold unlawful and set aside agency action,

findings, and conclusions found to be . . . without observance of procedure required by law.”

5 U.S.C. § 706(2)(D).

       90.     CMS’s final decision to reverse its policy and exclude an FFS Adjuster from its

new RADV audit methodology rests in large part on the D.C. Circuit’s reasoning in

UnitedHealthcare v. Becerra, 16 F.4th 867 (D.C. Cir. 2021), a decision that was not yet released

when CMS issued the Proposed Rule on November 1, 2018. At no point after the decision was

released did CMS request comment on whether or how this decision impacted the application of

an FFS Adjuster to RADV audits. Plaintiffs and other commenters were thus deprived of a

meaningful opportunity to comment on a central justification for the Final Rule.

       91.     Defendants’ promulgation of the Final Rule therefore does not observe the notice-

and-comment procedure required by the APA, in violation of 5 U.S.C. § 706(2)(D). This

violation prejudiced Plaintiffs by preventing them from submitting a fully developed comment

that would have offered additional specific and credible objections to CMS’s reliance on Becerra

and thus had an effect on CMS’s decision to promulgate the Final Rule.

                                    REQUEST FOR RELIEF

       Plaintiffs respectfully request that this Court:

       A.      Declare that the Final Rule is arbitrary, capricious, an abuse of discretion, and



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otherwise not in accordance with law, 5 U.S.C. § 706(2)(A), and in excess of Defendants’

statutory jurisdiction, authority, or limitations, or short of statutory right, 5 U.S.C. § 706(2)(C),

because CMS’s decision not to apply an FFS Adjuster in RADV audits rests on incorrect legal

arguments and is inadequately explained;

       B.      Declare that the Final Rule is arbitrary, capricious, an abuse of discretion, and

otherwise not in accordance with law, 5 U.S.C. § 706(2)(A), and in excess of Defendants’

statutory jurisdiction, authority, or limitations, or short of statutory right, 5 U.S.C. § 706(2)(C),

because CMS abused its discretion by applying the Final Rule retroactively;

       C.      Declare that the Final Rule was promulgated without observance of procedure

required by law, 5 U.S.C. § 706(2)(D), because it deprived Plaintiffs of a meaningful opportunity

to comment on a central justification for the Final Rule;

       D.      Set aside the Final Rule as arbitrary, capricious, an abuse of discretion, and

otherwise not in accordance with law, 5 U.S.C. § 706(2)(A), and in excess of CMS’s statutory

jurisdiction, authority, or limitations, or short of statutory right, 5 U.S.C. § 706(2)(C), and as

promulgated without observance of procedure required by law, 5 U.S.C. § 706(2)(D);

       E.      Enjoin Defendants from enforcing against Humana any payment recoveries

calculated using the new RADV audit methodology announced in the Final Rule; and

       F.      Provide such further relief as the Court may deem just and proper.




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Dated: September 1, 2023

Respectfully submitted,

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